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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                                  :        Bankruptcy No. 16-24402 CMB
                                                        :
William S. Vodzak                                       :        Chapter 13
                                                        :
        Debtor(s)                                       :        Docket No.
William S. Vodzak                                       :
                                                        :
         Movant(s)                                      :
                                                        :
                vs.                                     :
PA Housing Finance Agency, and                          :
Ronda J. Winnecour, Chapter 13 Trustee                  :
        Respondent(s)                                   :

                                  NOTICE OF PROPOSED MODIFICATION TO CONFIRMED
                                              PLAN DATED January 17, 2017

         1.        Pursuant to 11 U.S.C. Section 1329, the Debtor has filed an Amended Chapter 13 Plan dated January 22, 2018 ,
                   which is annexed hereto (the “Amended Chapter 13 Plan”). Pursuant to the Amended Chapter 13 Plan, the Debtor
                   seeks to modify the confirmed Plan in the following particulars:

Modify Plan to provide for NMPC re: PA Housing Finance Agency and to provide for additional attorney fees.

         2.       The proposed modification to the confirmed Plan will impact the treatment of the claims of the following creditors,
and in the following particulars:

Modify Plan to provide for NMPC re: PA Housing Finance Agency.

              3.   Debtor submits that the reason(s) for the modification is (are) as follows:

Reduce plan payment due to debtor recently began seasonal unemployment.


         4.      The Debtor submits that the requested modification is being proposed in good faith, and not for any means
prohibited by applicable law. The Debtor further submits that the proposed modification complies with 11 U.S.C. Sections 1322(a),
1322(b), 1325(a) and 1329 and, except as set forth above, there are no other modifications sought by way of the Amended Chapter 13
Plan.

         WHEREFORE, the Debtor respectfully requests that the Court enter an Order confirming the Amended Chapter 13 Plan, and
for such other relief the Court deems equitable and just.




                   RESPECTFULLY SUBMITTED, this             22nd day of January 2018.

                                                        /s/ Scott R. Lowden
                                                        Scott R. Lowden, Esq., PA ID 72116
                                                        Rice & Associates Law Firm, 15 W. Beau St.
                                                        Washington, PA 15301
                                                        lowdenscott@gmail.com
                                                        (412) 374-7161
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Amount of secured claim
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                                    pro se
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